     Case 6:09-cr-10132-EFM          Document 367   Filed 10/22/10     Page 1 of 7




                   IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,                      )
                                               )
                        Plaintiff,             )     Criminal Action
                                               )
                   v.                          )     No. 09-10132-01, 04, 07, 08, 09,
                                               )               10, 11, 12, 13, 14, 15,
ALEJANDRO CALDERON,                            )               16, 17, 18, 19, 20, 21,
TYLER GREEN,                                   )               22 - EFM
HERIBERTO MIRANDA-ROLDAN,                      )
JUAN MANUEL ORTIZ,                             )
     a/k/a Juan Jose Reyes,                    )
     a/k/a Pelon,                              )
JOSE GOMEZ SOLORIO,                            )
     a/k/a Vidal Solorio,                      )
     a/k/a Jose Ramires,                       )
     a/k/a Jose Ramerez,                       )
     a/k/a Jose Manuel Rodriguez,              )
     a/k/a Juan Jose Madrazo-Ariaz,            )
     a/k/a Margarito Lopez,                    )
     a/k/a Margarita Ayala,                    )
     a/k/a Benito Juarez,                      )
     a/k/a Gordo,                              )
OMAR TORRES,                                   )
     a/k/a Ernesto Calderon,                   )
     a/k/a Aurellano Duarte Quintana,          )
     a/k/a Rumaldo Calderon,                   )
     a/k/a Cocho,                              )
RUDOLPH BEACH, III,                            )
HENRY BROOKS,                                  )
ESTEBAN GAUNA,                                 )
TIMOTHY LAWRENCE,                              )
RICARDO O. QUINTANA,                           )
     a/k/a Cholo,                              )
JULIO RUIZ RIOS,                               )
ARMANDO RODRIGUEZ,                             )
AUDON SOTO SALAS,                              )
WESLEY SHELTON,                                )
LUIS VALERIANO,                                )
PABLO SANTOS BARAJAS, and                      )
       Case 6:09-cr-10132-EFM          Document 367        Filed 10/22/10      Page 2 of 7




WILBER HERNANDEZ-ODILIO,               )
      a/k/a Martin Lucero Rodriguez,   )
      a/k/a Wilber Hernandez,          )
      a/k/a Wilbur Rodriguez,          )
      a/k/a Jonathan Lucero,           )
      a/k/a Jonathan Lucero-Guillen,   )
      a/k/a Willy,                     )
a/k/a       Chapparo,                  )
                                       )
                   Defendants.         )
______________________________________ )

                              MEMORANDUM AND ORDER

       There are numerous pending motions before the Court.1 The Court conducted a hearing on

October 19, 2010, during which it made several rulings from the bench. For the reasons stated on

the record and summarized below, the Court rules as follows:

       Motion(s) for James Hearing

       Defendant Valeriano’s motion (Doc. 276) and Defendant Solorio’s motion (Doc. 287) for

a James hearing is granted. This hearing began on October 20, 2010 and will continue on October

26, 2010.

       Motion for Severance

       Defendant Valeriano filed a motion to sever (Doc. 273) in which Defendant Solorio joined

(Doc. 284). The United S tates agrees to severance of Valeriano and Solorio for trial, and trial is




       1
         Prior to the hearing scheduled for October 19, 2010, numerous motions and motions for
leave to join in other Defendants’ motions were filed. On October 17th and 18th, eight
Defendants filed either a motion to withdraw their documents or notice indicating withdrawal of
their motions. At the hearing on October 19th, four additional Defendants who had not
previously filed a motion or notice withdrawing their motions orally moved to withdraw their
pending motions. All motions to withdraw pending motions were granted.
        Only two Defendants, with pending motions, remained at the hearing. The Court’s
rulings with respect to their motions are summarized in this Order.
       Case 6:09-cr-10132-EFM           Document 367         Filed 10/22/10      Page 3 of 7




expected to begin on Novem ber 2, 2010. As such, Defendant Valeriano’s m otion (Doc. 273) is

granted.

          Motion to Exclude Bruton Evidence

          Defendant Valeriano filed a m otion to exclude Bruton evidence (Doc. 275) in which

Defendant Solorio joined (Doc. 284). Subsequent to the hearing held on October 19th, Defendant

Valeriano indicated that he will no l onger proceed to trial. Because Solorio will be the sole

Defendant at the trial, the Court finds that this motion should be denied as moot.

          Motion to Exclude Guilty Pleas

          Defendant Valeriano filed a motion to exclude evidence of co-defendants’ pleas unless co-

defendant testifies at trial (Doc. 277) in which Defendant Solorio joined (Doc. 284). The Court

grants these motions.

          Motion to Dismiss for Speedy Trial Violation

          Defendants Valeriano and Solorio filed a m otion to join (Doc. 316) in Co-Defendant’s

Quintana’s motion to dism iss for speedy trial violation (Doc. 303). Defendant Quintana orally

withdrew his motion, but Valeriano’s and Solorio’s motion to join remain pending, and they both

assert that their right to a speedy trial have been violated. For the reasons stated on the record, the

Court concludes that Defendants’ right to a speedy trial was not violated. As such, the motion is

denied.




                                                  3
       Case 6:09-cr-10132-EFM           Document 367         Filed 10/22/10       Page 4 of 7




       Motion to Suppress Wiretap Evidence (resulting from September 4, 2009

       authorization) and Request for Franks Hearing2

       Defendant Solorio filed a motion to suppress evidence of wiretap, search of residence and

statement, and a request for Franks hearing (Doc. 285). Defendant Valeriano also filed a motion

to suppress wiretap and derivative evide nce and a request for Franks hearing (Doc. 278). 3 The

government opposed both Defendants’ motions.

       On September 4, 2009, Judge W esley E. Brown, approved the United States’ application

authorizing the interception of calls over a cell phone for a period of thirty days. Beginning on

September 11, 2009, and continuing through October 10, 2009, the United States intercepted this

phone. “[A] district court’s wiretap authorization is presumed proper, and the defendant bears the

burden of overcoming this presumption.”4

       18 U.S.C. § 2518 sets forth the procedure for the interception of wire com        munications.

Under sections 2518(1)(b) and (c), the application must include:

       (b) a full and complete statement of the facts and circumstances relied upon by the
       applicant, to justify his belief that an order should be issued, including (i) details as
       to the particular offense that has been, is being, or is about to be com mitted, (ii)
       except as provided in subsection (11), a particular description of t he na ture and
       location of the facilities from which or the place where the communication is to be
       intercepted, (iii) a particular descriptionof the type of communications sought to be
       intercepted, (iv) the identity of the person, if known, com mitting the offense and
       whose communications are to be intercepted;




       This particular ruling was made on the record at the beginning of the James hearing on
       2

October 20, 2010 and is merely summarized in this Order.
       3
        Defendant Valeriano also joined in Defendant Solorio’s motion.
       4
        United States v. VanMeter, 278 F.3d 1156, 1163 (10th Cir. 2002) (citation omitted).

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       Case 6:09-cr-10132-EFM           Document 367         Filed 10/22/10       Page 5 of 7




       (c) a full and complete statement as to whether or not other investigative procedures
       have been tried and failed or why they reasonably appear to be unlikely to succeed
       if tried or to be too dangerous; . . . .

       Although Defendant argues that the U nited States failed to set f orth a f ull and com plete

statement of the facts, after carefully reviewing both the redactedand unredacted affidavits provided

to the Court for the wiretap application, the Court find Defendant’s argument without merit.

       Defendant further argued that the application was deficient for failing to make an adequate

showing of necessity. “[T]o prove that a wire tap is necessary, the governm ent must show that

traditional investigative techniques have been tried uns      uccessfully, reasonably appear to be

unsuccessful if tried, or are too dangerous to attempt.”5 The applicant for the wiretap must explain

with particularity why less intrusive techniques have not been tried.6 The statute, however, does

not require exhaustion of all possibilities, and the government should exercise a “common sense”

approach.7

       Defendant principally objects under the necessity grounds that the application was legally

deficient in not showing with adequate specificity the government’s reasons for not using the less

intrusive techniques. However, the techniques upon which the defendant principally based hi          s

argument, search warrants and grand jury testimony, were the least likely to successfully reveal the

scope and extent of the organization in this type of an investigation. Under the circumstances, the

Court finds that the affidavit is sufficient in demonstrating the unsuitability of these less intrusive

       5
        United States v. Ramirez-Encarnacion, 291 F.3d 1219, 1222 (10th Cir. 2002) (citing 18
U.S.C. §§ 2518(1)(c), 2518(3)(c)).
       6
        United States v. Mitchell, 274 F.3d 1307, 1310 (10th Cir. 2001) (quoting United States v.
Castillo-Garcia, 117 F.3d 1179, 1187 (10th Cir. 1997) (overruled on other grounds by
Encarnacion, 291 F.3d at 1222 n. 1)).
       7
        United States v. Verdin-Garcia, 516 F.3d 884, 890 (10th Cir. 2008).

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       Case 6:09-cr-10132-EFM           Document 367         Filed 10/22/10      Page 6 of 7




techniques for discovering the information it sought. Accordingly, the Court finds that the affidavit

and application were proper and in compliance with the statute.

       With respect to Defendant’s Franks hearing motion, when challenging the probable cause

for the issuance of a wiretap order, the defendant must demonstrate that: 1) the affidavit contained

a material false statement or omission; 2) the false statement or omission was made knowingly and

intentionally, or with reckless disregard to the trut
                                                   h; and 3) the allegedly false statement or omission

is necessary to the finding of probable cause.8 “The defendant bears the burden to demonstrate the

affidavit’s falsity or reckless disregard for the truth by a preponderance of the evi        dence.”9

Defendant does not even address these elements, and certainly does not meet his burden.

       Defendant also raised challenges to the GPSprecision location warrants, the search warrant

for defendant’s residence, and the statements made by defendant after his arrest. Largely (though

not completely), these challenges were derivativesof the challenge to the wiretap. The Court finds

these challenges without merit.

       Therefore, Defendants Solorio’s and Valeriano’s motions (Docs. 285, 278) are denied.

       IT IS THEREFORE ORDERED that Defendant Valeriano’s Motion for Pretrial J ames

hearing (Doc. 276) and Defendant Solorio’s Motion for James hearing (Doc. 287) areGRANTED.

       IT IS FURTHER ORDERED that Defendant Valeriano’s Motion to Sever (Doc. 273) is

GRANTED.




       Franks v. Delaware, 438 U.S. 154, 155-56 (1978); see also United States v. Tisdale, 248
       8

F.3d 964, 973 (10th Cir. 2001).
       9
        Tisdale, 248 F.3d at 973 (citation omitted).

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       Case 6:09-cr-10132-EFM         Document 367        Filed 10/22/10     Page 7 of 7




       IT IS FURTHER ORDERED that Defendant Va leriano’s Motion to Exclude Bruton

Evidence (Doc. 275) is DENIED as moot.

       IT IS FURTHER ORDERED that Defendant Valeriano’s Motion to Exclude Guilty Pleas

(Doc. 277) is GRANTED.

       IT IS FURTHER ORDERED that Defendant Solorio’s Motion to Join several m otions

(Doc. 284) is GRANTED.

       IT IS FURTHER ORDERED that Defendants Valeriano’s and Solorio’s joinder of motion

to dismiss for speedy trial violation (Doc. 316) is DENIED as there was no speedy trial violation.

       IT IS FURTHER ORDERED that Defenda nt Sol orio’s Motion for Suppression of

Evidence of W iretap, Search of Residence, and Statem ent and Franks Hearing(Doc. 285) and

Defendant Valeriano’s Motion to Suppress Wiretap and Derivative Evidence and Franks Hearing

(Doc. 278) are DENIED.

       IT IS SO ORDERED.

       Dated this 22nd day of October, 2010.




                                                    ERIC F. MELGREN
                                                    UNITED STATES DISTRICT JUDGE




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